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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


    JAMIL CURETON,

                     Plaintiff,              CASE NO. 16-CV-12628
                                             HON. GEORGE CARAM STEEH
    v.                                       MAG. JUDGE MONA MAJZOUB

    ANTHONY VANCE, CRAIG
    F. WININGER, and THOMAS
    SONDGEROTH,

                Defendants.
    ________________________/

     ORDER DENYING PLAINTIFF’S “AMENDED JUDGMENT” (Doc. 36)

          Pro se plaintiff Jamil Cureton brought this Bivens action against

Defendant Assistant United States Attorneys (“AUSAs”) Anthony Vance

and Craig Wininger and FBI agent Thomas Sondgeroth for malicious

prosecution. On August 29, 2017, this court accepted the report and

recommendation of Magistrate Judge Mona K. Majzoub and granted

Defendants’ motion for summary judgment because Defendants were

entitled to absolute and qualified immunity. Now before the court is

Plaintiff’s “Amended Judgment” which he also refers to as an “amended

complaint.” Attached to that document, Plaintiff submitted two videotaped

depositions. Plaintiff argues that those two depositions taken in early May,


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2018, in another lawsuit, require that this court hold an evidentiary hearing

in his previously closed civil case. Because final judgment has entered,

Plaintiff’s motion to amend is time-barred and is not properly before this

court. In addition, the court has reviewed the videotaped depositions

submitted and finds that they would not alter the court’s prior order granting

Defendants’ motion for summary judgment.

      For the reasons set forth above, Plaintiff’s “Amended Judgment”

(Doc. 36) is DENIED. The Clerk is directed to file the exhibits attached

thereto in the traditional manner.

      IT IS SO ORDERED.

Dated: May 24, 2018                       s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE



                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                May 24, 2018, by electronic and/or ordinary mail and also on
                       Jamil Cureton, 801 East Woodcroft Parkway,
                               Apt. 1831, Durham, NC 27713.

                                     s/Barbara Radke
                                       Deputy Clerk




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